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     CLAIRE’S BOUTIQUES, INC.
10   AND CLAIRE’S HOLDINGS, LLC
11                                UNITED STATES DISTRICT COURT

12                               EASTERN DISTRICT OF CALIFORNIA

13

14   KILA SMITH,                                         Case No.
15                  Plaintiff,                           DEFENDANT CLAIRE’S BOUTIQUES,
                                                         INC.’S CORPORATE DISCLOSURE
16          v.                                           STATEMENT
17   CLAIRE’S BOUTIQUES, INC., a Michigan                (Filed concurrently with Notice of
     Corporation; CLAIRE’S HOLDINGS, LLC, a              Removal; Declarations of Danielle Clark,
18   Limited Liability Company; RYAN VERO, an            Michele Reilly and Adam Y. Siegel; Civil
     individual; and DOES 1 through 100,                 Case Cover Sheet; and Notice of Interested
19   inclusive,                                          Parties)
20                  Defendants.                          Complaint Filed:   08/05/2022
                                                         Trial Date:        TBD
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23           TO THE UNITED STATES DISTRICT COURT FOR THE EASTERN

24   DISTRICT OF CALIFORNIA, PLAINTIFF KILA SMITH AND HER COUNSEL OF

25   RECORD HEREIN:

26           Federal Rule of Civil Procedure 7.1(a) provides: “A nongovernmental corporate party

27   must file two copies of a disclosure statement that: (1) identifies any parent corporation and any

28   publicly held corporation owning 10% or more of its stock; or (2) states that there is no such

                                                     1
     Corporate Disclosure Statement                                               Case No.
     Case 2:22-cv-01840-KJM-KJN           Document 2       Filed 10/14/22     Page 2 of 2


 1   corporation.”
 2            In accordance with Rule 7.1(a), the undersigned counsel of record for Defendant certifies
 3   as follows:
 4            (i) Defendant CLAIRE’S BOUTIQUES, INC. is a non-government entity; (ii) Defendant
 5   CLAIRE’S BOUTIQUES, INC. is a wholly owned subsidiary of Claire’s Stores, Inc.; (iii)
 6   Claire’s Stores, Inc.’s parent company is Claire’s Holdings LLC; and (iv) no publicly traded
 7   company owns 10% or more of the stock of Defendant CLAIRE’S BOUTIQUES, INC.
 8

 9   Dated: October 14, 2022                              JACKSON LEWIS P.C.

10

11                                                  By: /s/ Adam Y. Siegel
                                                        Adam Y. Siegel
12                                                      Mossamat N. Karim
                                                        Attorneys for Defendants
13
                                                        CLAIRE’S BOUTIQUES, INC.
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     4885-8572-6265, v. 1
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     Corporate Disclosure Statement                                               Case No.
